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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

MISSOURI STATE CONFERENCE OF                )
THE NATIONAL ASSOCIATION FOR                )
THE ADVANCEMENT OF COLORED                  )
PEOPLE, et al.,                             )
                                            )
                      Plaintiffs,           )
                                            )
       v.                                   )       Case No. 4:22-cv-191-MTS
                                            )
WENTZVILLE R-IV SCHOOL                      )
DISTRICT,                                   )
                                            )
                      Defendant.            )
                                            )

                        MOTION FOR VOLUNTARY DISMISSAL

       Plaintiffs, pursuant to Federal Rule of Civil Procedure 41(a)(2), move this Court to

dismiss their claims against Defendant without prejudice.

                                                 /s/ Anthony E. Rothert
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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 8, 2023, a copy of the foregoing was served on counsel

of record by operation of the Court’s CM/ECF system.



                                                   /s/ Gillian R. Wilcox
